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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

THE DUGABOY INVESTMENT TRUST
and GET GOOD TRUST,                             §
                                                §
        Appellants,                             §
                                                §
v.                                              §   Civil Action No. 3:21-CV-261-L
                                                §
HIGHLAND CAPITAL                                §
MANAGEMENT, LP,                                 §
                                                §
        Appellee.                               §

                                            ORDER

        The Dugaboy Investment Trust (“Dugaboy”) and Get Good Trust (“Get Good”)

(collectively, “Appellants”) brought this action on February 5, 2021, to appeal the bankruptcy

court’s order granting Debtor Highland Capital Management, LP’s Motion For Entry of an Order

Approving Settlement with HarbourVest (“9019 Motion”) (Claim Nos. 143, 147, 149, 150, 153,

154) and Authorizing Actions Consistent Therewith (Bankr. Doc. 1788), based on its finding that

the 9019 Motion was in the best interest of the Debtor’s estate, bankruptcy appeal. On January 13,

2022, Appellee Highland Capital Management, LP, (“Appellee” or “Highland Capital”) filed its

Motion to Dismiss Appeal as Constitutionally Moot (Doc. 33) which Appellants oppose in part.

For the reasons herein explained, the court grants Highland Capital’s Motion to Dismiss (Doc.

33) and affirms the bankruptcy court order appealed by Appellants.

        Highland Capital contends that all claims asserted by Appellees are moot, as they were

withdrawn after this appeal was taken. Highland Capital further asserts that Appellees lack

standing as a result to pursue this appeal. Below is a summary of claims that Highland Capital

contends were withdrawn for which standing is lacking:



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Appellee’s Mot. 4.

       Appellants concede that dismissal of Get Good is appropriate given the dismissal of its

claims and “lack of an ownership interest in any of the non-debtor affiliates or the Debtor.”

Appellants’ Resp. 1 & n.1. Appellants, therefore, “consent” to the dismissal of Get Good. Id. In

light of this concession, the appeal as to Get Good will be dismissed by agreement.

       Appellants nevertheless contend that, because Dugaboy has a direct pecuinary interest in

the HarborVest Settlement, it continues to have standing to appeal the bankruptcy court’s order

granting the Debtor’s 9019 Motion. Appellants argue that, “[w]ithout HarbourVest’s 80 million

in claims granted under the HarbourVest Settlement, Dugaboy’s recovery would be much more

likely.” Id. at 2. For this reason, it contends that it has bankruptcy standing under the “person

aggrieved” test.

       Alternatively, it asserts that it has standing under section 1109 of the Bankruptcy Code,

which provides: “A party in interest, including the debtor, the trustee, a creditors’ committee, an

equity security holders’ committee, a creditor, an equity security holder, or any indenture trustee,

may raise and may appear and be heard on any issue in a case under this chapter.” 11 U.S.C. §

1109(b). Appellants contend that “Dugaboy, as an equity holder, defendant to multiple actions

commenced by the Debtor, and a party enjoined under the Plan[,] is a ‘party-in-interest.”

Appellants’ Resp. 1 & n.13



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       As correctly noted by Highland Capital, however, the mere possibility of obtaining relief

is insufficient for purposes of bankruptcy standing. As the Fifth Circuit in In re Technicool

Systems, Incorporated aptly explained:

               The narrow inquiry for bankruptcy standing—known as the “person
       aggrieved” test—is “more exacting” than the test for Article III standing. Rather
       than showing the customary “fairly traceable” causal connection, a bankruptcy
       appellant must instead show that he was “directly and adversely affected
       pecuniarily by the order of the bankruptcy court.” In essence, bankruptcy standing
       requires “a higher causal nexus between act and injury.” This restriction narrows
       the playing field, ensuring that only those with a direct, financial stake in a given
       order can appeal it. Thus in bankruptcy litigation, as in life, “the more money we
       come across, the more problems we see.”

In re Technicool Sys., Inc., 896 F.3d 382, 385-86 (5th Cir. 2018) (footnotes and citations omitted).

       The court in Technicool went on to conclude that the appellant in that case could not satisfy

the narrow, more exacting test for bankruptcy standing because the prospect of harm was

speculative rather than direct:

               Furlough cannot show that he was “directly and adversely affected
       pecuniarily by the order of the bankruptcy court.” Furlough’s primary contention is
       that, but for NOV’s proof of claim, Technicool’s assets would exceed its debt, and
       he would be entitled to any estate surplus. Because SBPC represents both NOV and
       the Trustee, Furlough argues, it might fail to disclose any problems with NOV’s
       claim, robbing him of the possibility of recovering a surplus.

               This speculative prospect of harm is far from a direct, adverse, pecuniary
       hit. Furlough must clear a higher standing hurdle: The order must burden his pocket
       before he burdens a docket. SBPC was appointed to assist the Trustee in
       consolidating claims and piercing the corporate veil. That appointment does not
       directly affect whether the bankruptcy court approves or denies NOV’s claim
       against the estate, and thus it does not directly affect Furlough’s pecuniary interests.
       Furlough’s argument is essentially that if NOV’s claim ceased to exist or
       dramatically decreased, the estate’s assets would exceed its debt, and he would
       benefit financially. This might be true but it would not be a direct result of this
       appeal. That Furlough feels grieved by SBPC’s appointment does not make him a
       “person aggrieved” for purposes of bankruptcy standing.

Id. at 386 (citations and footnote omitted).




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       Notwithstanding Dugaboy’s attempt at distinguishing Technicool, the court, for similar

reasons, agrees with Highland Capital that Dugaboy’s indirect interest in the order approving the

HarbourVest Settlement and prospect of harm is speculative and insufficient to meet the strict

requirements for bankruptcy standing. Further, Appellants acknowledge that “[t]he Fifth Circuit

has not decided the issue of whether section 1109(b) confers appellate standing one way or the

other.” Appellants’ Resp. 11. Accordingly, the court: (1) dismisses by agreement this appeal as

to Get Good; (2) dismisses for lack of bankruptcy standing the appeal by Dugaboy; and affirms

the bankruptcy court order appealed by Dugaboy.

       It is so ordered this 26th day of September, 2022.



                                                    _________________________________
                                                    Sam A. Lindsay
                                                    United States District Judge




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